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The Honorable Reggie B. Walton
United States District Judge

c/o William W. Taylor III

Zuckerman Spaeder LLP

1800 M Street, NW Suite 1000

Washington, DC 20036-5802
Bégles, 24/05/2019

Dear Judge Walton,

My name is Benoit PIVET, I ama French citizen, aged 61, and I have been an insurance broker
since 1987,

When I joigned my current employer in March 2006 as Deputy Managing Director, Mr. Kassim
Tajideen’s group had already been a customer for about 10 years.

At that time, his Client Executive was Mr. Maely Daoud, French and Mauritanian citizen, and an
old friend of mine; he unfortunately passed away end of July 2015.

Maely and Kassim had developed over time a close and friendly relationship based on mutual
respect, professionalism and trust.

I had been told about the story of the taximan in Lebanon, first son of a numerous family,
starting from nothing then building from the ground up a group of companies led by some
brothers, then their children and nephews.

I met Kassim on different occasions, accompanying Maely in trips or Kassim visiting us in
France, and was always impressed by Kassim’s very kind, discreet, humble and respectful
behavior. No show-off ever, just the opposite.

At that time, Kassim and his wife Huda, had already (2003 and 2008) experienced problems with
the justice of their country, Belgium. They both had been prosecuted and sentenced for financial
fraud and their former companies in Belgium had been liquidated.

When in May 2009, Mr.Tajideen was designated by the US Department of the Treasury as
financially supporting the Hezbollah terrorist organization, it came as a complete surprise to us,
as it seemed obvious that the same charges that had been dropped by the Belgian Justice were
grounding the American administration’s file.

Indeed, although religious, as a business man, M.Kassim Tajideen was always very careful in
staying away from any kind of political organisation or religious movement and was not even
interested in them.

Mr. Tajideen was then very depressed and in shock. Maely and I were at that time part of the
team of lawyers and friends who helped him and his family in facing such an unprecedented
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situation, appointing a law firm in Washington DC to obtain copy of his file and try to refute the
US Department accusations against him and indirectly the OVLAS group (as per the press, a
"cover companies" for Hezbollah in Africa).

It took him and his lawyers years (and it cost him a fortune) before he seemed to have found an
agreement with the American Treasury.

The business world being merciless, he was forced to drop his family operations in Angola and
sell them to some business people and/or governmental officials and then he moved back to
Lebanon.

Maely’s funerals were held in Nouakchott, Mauritania, early August 2015. I had advised Kassim
of Maely’s death by email and when he called me, he was so overwhelmed with emotion that he
had to hang up and he latter called me back. He attended the funeral in Nouakchott and the two
of us were crying side by side as Maely was buried. He then stayed overnight by Maely’s family,
not in a hotel, but among them, wrapped in a blanket.

This story reflects perfectly Mr. Tajideen’s DNA: a hard worker, wise and very successful
business man, but still a simple, humble, gentle, trustworthy and generous human being. He has
domestic service at home but invites you to share a meal in his kitchen !

I also had the opportunity to meet lot of members of his large family. They all are alike, good
and very kind and loyal people, no show off, ever.

When Mr. Tajideen was arrested and incarcerated in the US, they faced it with a lot of courage,
faith, strength and determination, a situation which nobody can be never prepared for, rich or
poor. These values are definitely also those of Mr.Tajideen, no doubt about it.

I know now Kassim will plead guilty and shall be prosecuted soon for a criminal offence.
However these allegations of criminal behavior still are to me absolutely inconsistent with what I

know and write here about Mr.Tajideen.

Thank you, dear Judge Walton, for taking the time to read me and for your kind consideration.

Yours, faithfully
